       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 1 of 74



               THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                         :
JARED MILLER, by and through his         :
guardians, Janice Miller and Glenn       :
Miller; ALBERT M. SPURRI, by and         :
through his guardians, Julie Spurri      :
and Albert J. Spurri; and DISABILITY     :
RIGHTS NETWORK OF                        :
PENNSYLVANIA,                            :
                                         :
                          Plaintiffs,    :
                                         :
                    v.                   : Civil Action No. ____________
                                         :
DEPARTMENT OF HUMAN SERVICES :
OF THE COMMONWEALTH OF                   :
PENNSYLVANIA and TED DALLAS,             :
in his official capacity as Secretary of :
the Department of Human Services,        :
                                         :
                          Defendants.    :
                                         :

                                COMPLAINT

I.    Introduction

      1.    Jared Miller and Albert M. Spurri, individuals with intellectual

disabilities, and the Disability Rights Network of Pennsylvania (DRN) bring

this lawsuit to challenge the failure of the Pennsylvania Department of

Human Services (DHS) to assure that individuals eligible for the Consoli-

dated Waiver, a Medicaid program that funds home and community-based

services for individuals with intellectual disabilities, have prompt access to
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 2 of 74



residential habilitation and other services that are necessary to meet their

needs and enable them to avoid institutionalization and remain in the

community.

      2.     Plaintiffs Miller and Spurri are participants in the Consolidated

Waiver who have been living at home with their families. Due to their

complex and challenging needs, their families have struggled to maintain

them at home with quality services funded by the Consolidated Waiver.

Their families have requested residential habilitation services to secure out-

of-home, community-based residential programs for them. Those efforts

have proved fruitless. Indeed, Messrs. Spurri’s and Miller’s parents have

been so frustrated by their inability to secure residential habilitation through

the Consolidated Waiver that they will resort to institutional placements for

their sons unless community-based programs can be promptly provided.

      3.     Messrs. Spurri and Miller are not unique. Numerous other

Consolidated Waiver participants have been unable to promptly access

residential habilitation or related services, sometimes resulting in their

unnecessary institutionalization.

      4.     DHS’s policies and practices have made it difficult for Consoli-

dated Waiver participants with co-occurring mental health diagnoses or

complex medical needs to promptly access and retain residential


                                       2
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 3 of 74



habilitation and related services. These include: (a) lack of a range of

crisis services geared to support individuals with dual diagnoses of intellec-

tual disability and mental illness; (b) a rate-setting system that results in

inadequate and uncertain rates to provide residential habilitation and other

services to individuals with complex and challenging needs that are

necessary for them to avoid institutionalization and remain in the

community; (c) lack of adequate funding for start-up costs to develop new

residential habilitation programs; (d) lack of consequences for providers

who terminate residential habilitation services before participants can be

transitioned to new programs; and (e) an inadequate number of providers

and programs that are able and willing to serve participants with complex

and challenging needs.

      5.    DRN has worked for years to address these issues with DHS,

through advocacy and even litigation on behalf of Consolidated Waiver

participants whose inability to timely access residential habilitation and

other services resulted in or placed them at serious risk of unnecessary

institutionalization. While DRN’s interventions sometimes succeeded in

securing some participants with the services they need, the systemic flaws

that gave rise to the crises remain and, as a result, the problems

continually recur.


                                        3
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 4 of 74



      6.    DHS’s failure to assure that Messrs. Miller and Spurri and other

Consolidated Waiver participants have prompt access to the residential

habilitation and other services necessary to avoid institutionalization to

which they are entitled violates Title XIX of the Social Security Act and 42

U.S.C. § 1983.

      7.    Delays in access to residential habilitation and other related

services have resulted in unnecessary institutionalization of some

Consolidated Waiver participants and placed others at serious risk of

unnecessary institutionalization in violation of Title II of the Americans with

Disabilities Act and Section 504 of the Rehabilitation Act.

      8.    Plaintiffs seek appropriate declaratory and injunctive relief.

II.   Jurisdiction and Venue

      9.    This Court has jurisdiction over this action pursuant to 28

U.S.C. §§ 1331, 1343(a)(3), and 1343(a)(4).

      10.   Plaintiffs’ claims are authorized by 42 U.S.C. §§ 1396, 1983,

and 12133, 29 U.S.C. § 794, and 28 U.S.C. §§ 2201 and 2202.

      11.   Venue is appropriate in this district pursuant to 28 U.S.C. §

1391(b) since Defendants reside in this district.




                                       4
        Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 5 of 74



III.   Parties

       12.   Plaintiff Jared Miller is a 37-year-old resident of Lehigh County,

Pennsylvania. Mr. Miller brings this action by and through his parents and

guardians, Janice Miller and Glenn Miller.

       13.   Plaintiff Albert M. Spurri is a 25-year-old resident of Bucks

County, Pennsylvania. Mr. Spurri brings this action by and through his

parents and guardians, Julie Spurri and Albert J. Spurri.

       14.   Plaintiff DRN is a non-profit Pennsylvania corporation. DRN

and its constituents, individuals with intellectual disabilities, have been

injured as a result of the Defendants’ violations of federal law that are the

subject of this Complaint.

             a.    The Commonwealth of Pennsylvania has designated

DRN as the protection and advocacy system pursuant to the federal

Developmental Disabilities Assistance and Bill of Rights Act (DD Act), 42

U.S.C. §§ 15041-15045.

             b.    Under the DD Act, DRN has the authority and duty to

protect the rights of and advocate for individuals with intellectual and other

developmental disabilities through, inter alia, the use of legal remedies. 42

U.S.C. § 15043(a)(2)(A). This authority includes the right to bring suit

against the state or its agencies, and the state cannot restrict DRN’s


                                       5
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 6 of 74



authority to pursue legal remedies. 42 U.S.C. § 15044(b)(1); 45 C.F.R. §

1386.21(c).

              c.   Under the DD Act, DRN has the authority and duty to

investigate allegations of neglect of individuals with developmental

disabilities, including the failure to establish and implement appropriate

individual support plans. 42 U.S.C. § 15043(a)(2)(B); 45 C.F.R. § 1386.19.

              d.   The DD Act requires that DRN’s governing board must be

composed of individuals who broadly represent and are knowledgeable

about the needs of individuals with disabilities and that a majority of board

members must be individuals with disabilities, including those with

developmental disabilities as well as parents, family members, guardians,

or advocates for individuals with disabilities. 42 U.S.C. § 15044(a).

              e.   Federal law requires DRN to annually establish goals and

priorities based on public input. 45 C.F.R. §§ 1386.22(c)-(d).

              f.   The DD Act requires that DRN have a grievance

procedure available to assure individuals with developmental disabilities

have full access to DRN’s services. 42 U.S.C. § 15043(a)(2)(E).

              g.   DRN provides information and referral services, individual

representation, education, and other services to individuals with intellectual

disabilities on an array of issues – including, inter alia, abuse and neglect;


                                       6
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 7 of 74



access to community-based services; access to health care; unnecessary

institutionalization; and discrimination in housing, employment, government

services, and public accommodations.

            h.    As described below, DRN has spent time, money, and

resources assisting Consolidated Waiver participants who, due to their

inability to promptly access residential habilitation and other related

services, were unnecessarily institutionalized or at risk of unnecessary

institutionalization. These expenditures of time, money, and resources

diverted DRN staff from other activities that they could have undertaken for

their constituents.

            i.    DRN’s constituents include Plaintiffs Spurri and Miller and

other Consolidated Waiver participants who have been harmed by their

inability to promptly access residential habilitation services due to

Defendants’ policies, practices, and procedures.

      15.   Defendant Department of Human Services of the Common-

wealth of Pennsylvania (DHS) is the single state agency that has

responsibility to implement Pennsylvania’s Medical Assistance Program,

including home and community-based waiver services provided to

individuals with disabilities. 42 U.S.C. § 1396a(a)(5); 55 Pa. Code §

101.1(e).


                                       7
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 8 of 74



      16.   Defendant Ted Dallas is the Secretary of DHS. Mr. Dallas is

responsible to assure that Pennsylvania’s Medical Assistance program is

operated in compliance with federal law. Mr. Dallas is sued only in his

official capacity for actions and omissions under color of state law.

IV.   Factual Background

      A.    Pennsylvania’s Medicaid Program

      17.   Title XIX of the Social Security Act (Title XIX), 42 U.S.C. § 1396

et seq., establishes the federal Medical Assistance (Medicaid) program.

      18.   Medicaid is a cost-sharing arrangement under which the federal

government reimburses more than 50 percent of the expenditures incurred

by participating states for Medicaid services to individuals whose income

and resources are insufficient to cover the costs of their medical care.

      19.   The purpose of Medicaid is to provide services to eligible

individuals, including services to help such individuals “attain or retain

capability for independence or self-care ....” 42 U.S.C. § 1396-1.

      20.   States are not required to participate in the Medicaid program,

but if they choose to do so they must adopt a “state plan” that delineates

the standards for determining eligibility and the services available.

      21.   Pennsylvania has chosen to participate in the Medicaid

program and has adopted a State Plan.


                                       8
        Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 9 of 74



      22.    Title XIX delineates the types of medical services that can be

funded under a state’s Medicaid plan, some of which are mandatory and

some of which are optional. See 42 U.S.C. § 1396d.

      23.    In addition to the mandatory and optional Medicaid services

listed in Title XIX, Title XIX also permits a state to obtain “waivers” to

provide home and community-based services (HCBS waivers) from the

federal Centers for Medicare and Medicaid Services (CMS). 42 U.S.C. §

1396n(c).

      24.    The purpose of HCBS waivers is to encourage states to provide

services to enable individuals with disabilities to avoid institutionalization.

42 C.F.R. § 441.300.

      25.    HCBS waivers allow states to include in their state plans as

“Medical Assistance” home and community-based services, including

services that otherwise could not be funded by Medicaid (such as

residential habilitation and respite), for individuals who, without such care,

would require institutionalization in intermediate care facilities for

individuals with intellectual disabilities (ICFs/IID), nursing facilities, or

hospitals. 42 U.S.C. § 1396n(c)(4)(B); 42 C.F.R. § 440.180.




                                         9
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 10 of 74



      26.   HCBS waivers allow states to waive certain requirements that

apply to mandatory and optional Medicaid services. 42 U.S.C. §

1396n(c)(3).

      27.   States can limit the number of persons who can participate in a

HCBS waiver and limit eligibility based on age, disability, or other criteria.

      B.    Consolidated Waiver

      28.   Pennsylvania has received approval from CMS to operate

multiple HCBS waivers, including the “Consolidated Waiver.”

      29.   DHS, the single state agency designated by Pennsylvania to

administer its Medical Assistance program, has delegated responsibility to

administer the Consolidated Waiver to its Office of Developmental

Programs (ODP).

      30.   The Consolidated Waiver, established in 1986, provides

services to Pennsylvanians with intellectual disabilities age 3 and older who

need the level of care provided by an ICF/IID.

      31.   The Consolidated Waiver is the largest HCBS waiver in the

Commonwealth, both in terms of the number of individuals served and

expenditures.

      32.   The Consolidated Waiver is the primary funding source for

community-based intellectual disability services in Pennsylvania.


                                       10
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 11 of 74



      33.   The Consolidated Waiver limits the number of individuals who

can receive services. Currently, the limit is approximately 18,000 persons.

      34.   The Consolidated Waiver offers a broad range of community-

based services, including:

            a.    Residential habilitation – This provides 24-hour services

to participants who live in provider-owned, rented/leased, or operated

residential settings to assist them to acquire, retain, and improve their self-

help, socialization, and adaptive skills necessary to live successfully in their

homes and the community. This service can be provided in homes that

serve as few as one person. If needed, enhanced staffing may be

provided, allowing for nursing services or 1:1 or 2:1 staffing for a

participant. Residential habilitation programs must be integrated and

dispersed in the community.

            b.    Home and community-based habilitation – This is a non-

residential service that helps participants to acquire, maintain, and improve

their self-help, domestic, socialization, and adaptive skills to reside

successfully in their own homes and communities.

            c.    Behavioral support – This provides services to conduct a

functional assessment and develop strategies based on the assessment to




                                       11
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 12 of 74



meet the behavioral needs of the participant, including training the

participant, parents, caregivers, and staff.

            d.    Nursing – Registered or licensed nursing staff will be

provided in family homes or residential habilitation settings if needed.

            e.    Respite – Respite is provided to participants living in

private homes to provide short-term relief for caregivers. Respite can also

be offered in emergency circumstances to participants living in residential

habilitation programs. Respite is capped at 30 days of 24-hour respite and

120 hours of temporary respite per year, although ODP can authorize a

greater amount as an exception.

            f.    Supports coordination – This is a case management

service that assists participants to locate, coordinate, and monitor services

and supports.

      35.   DHS contracts with local Administrative Entities (AEs) to

perform operational and administrative functions to implement the

Consolidated Waiver. In most instances, the AEs are the County Mental

Health and Intellectual Disability (MH/ID) Programs.

      36.   Once an individual is approved to participate in the Consoli-

dated Waiver, he or she and his or her Support Team (including involved

family or guardian and supports coordinator) work to develop an Individual


                                      12
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 13 of 74



Support Plan (ISP) to identify the supports and services the individual

needs to live in the community.

      37.   Supports coordinators are responsible to facilitate the

development, management, and review of participants’ ISPs.

      38.   The ISP, which must be approved by the AE and ODP, is the

document that authorizes the home and community-based services that the

individual will receive under the Consolidated Waiver.

      39.   The services and supports identified in an ISP should be based

on the individual’s current clinical and medical needs assessed pursuant to

the ODP-approved needs assessment instrument.

      40.   When an individual’s service needs change (e.g., he or she

needs a different type of service, more of a service, or less of a service),

his or her ISP should be amended to reflect the change. However, an

amendment to the ISP will be made only after a willing service provider is

identified. The AE and ODP must then authorize any new or different

services in a revised ISP.

      41.   Whether or not changes are necessary, the ISP must be re-

evaluated at least once a year, and the AE and ODP must reauthorize the

services.




                                      13
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 14 of 74



      42.   Defendants are responsible to assure that Consolidated Waiver

participants have timely access to the Waiver services that they want and

need, including residential habilitation. This responsibility includes

establishing a system, including an adequate network of providers, which

enables Consolidated Waiver participants to timely access such services.

      43.   If the system worked as it should, a Consolidated Waiver

participant who wants and needs residential habilitation or other services

would inform his supports coordinator who would include that service in his

ISP. The participant would then have access to a choice of providers

willing to offer them those services, and they would choose a provider.

      44.   Instead, the ISPs of Consolidated Waiver participants who

request and need a new service – such as residential habilitation – will not

be amended until willing providers are located.

      45.   Even when the ISP indicates that a service is authorized for the

Consolidated Waiver participant, it does not reflect whether that service is

actually being provided.

      46.   For individuals who are enrolled in the Consolidated Waiver,

there is no monetary cap on services. Participants are entitled to receive

any services they need that are available under the Waiver and that are

necessary for their health and welfare, regardless of cost.


                                      14
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 15 of 74



      47.   Consolidated Waiver participants who are institutionalized in

medical or psychiatric hospitals or in nursing facilities will be terminated

from the Waiver.

      48.   Although DHS reserves slots in the Consolidated Waiver to

serve individuals who are institutionalized in ICFs/IID and to serve former

Consolidated Waiver participants who have been in medical or psychiatric

hospitals or nursing facilities for less than six months, former Consolidated

Waiver participants who are hospitalized or placed in nursing facilities for

more than six months will be placed on a waiting list for the Waiver.

      49.   There are thousands of Pennsylvanians on the "emergency"

waiting list for Consolidated Waiver services so that former Consolidated

Waiver participants who are subject to long-term institutionalization may

have to wait years to be re-enrolled.

      C.    The Inability of Plaintiffs Spurri and Miller and
            Other Consolidated Waiver Participants to
            Access or Maintain Residential Habilitation Services

            1.     Jared Miller

      50.   Plaintiff Jared Miller is a 37-year-old man with Cornelia de

Lange Syndrome, a genetic disorder that for him results in intellectual

disability, physical disabilities, medical issues, and behavioral health issues




                                        15
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 16 of 74



(including oppositional defiant disorder and obsessive compulsive

disorder).

      51.    Mr. Miller’s impairments substantially limit his ability to think,

learn, care for himself, and interact with others.

      52.    Mr. Miller is eligible for and participates in the Consolidated

Waiver.

      53.    Mr. Miller has always lived in his family home with his parents.

      54.    Mr. Miller’s ISP authorizes him to receive 24 hours daily of in-

home nursing services and 24 hours daily of community habilitation

services so that he is to have two staff people with him around-the-clock.

These services are provided by multiple private providers as well as Mr.

Miller’s father, who is paid to provide 40 hours weekly of habilitation

services.

      55.    Mr. Miller requires a gastrostomy tube (G-Tube) to allow gas

and liquids to be evacuated from his stomach. Mr. Miller requires a

gastrojejunostomy tube (G-J Tube) to be fed and receive nutrition. Both

devices are inserted into sites on his abdomen that require constant

monitoring to prevent infection and pain. Staff must also monitor Mr. Miller

constantly to prevent him from pulling out the tubes.




                                        16
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 17 of 74



      56.   Mr. Miller takes many medications and receives various

medical treatments daily. He receives medications to control his pain,

symptoms of his obsessive compulsive disorder, diabetes, and cholesterol.

He receives daily nebulizer treatments for allergies and antibiotic eye drops

since he had retinal attachment surgeries in early 2015.

      57.   Staff must monitor Mr. Miller for any indications of irregular

blood chemistries. If any abnormalities are noted, staff draw his blood and

his physicians evaluate it to determine if adjustments are needed to his

feedings, medications, or nutritional supplements.

      58.   Mr. Miller requires multiple medical appointments with

specialists at Hershey Medical Center, more than 1.5 hours from his home,

as well as local medical and dental appointments. Mr. Miller’s father

schedules and together with support staff attends his appointments.

      59.   Mr. Miller has episodes of pain that can cause him to engage in

self-injurious behaviors (inflicting injuries to his head, eyes, and hands) and

throw himself out of his bed or wheelchair.

      60.   These behaviors resulted in retinal detachments that required

him to undergo surgery. Whiplash-like movements of his head

exacerbated his detached retinas, and he has had multiple repair surgeries.




                                      17
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 18 of 74



      61.    Mr. Miller requires two people to attend to him to prevent

significant injuries.

      62.    Mr. Miller sometimes uses flexible elbow immobilizers and hand

mittens to physically restrain his hands at night to prevent further injuries

during pain episodes.

      63.    Mr. Miller needs total assistance to complete his activities of

daily living, including bathing, brushing his teeth, dressing, eating, and

changing his adult diapers.

      64.    Mr. Miller needs to have someone hold his hand and physically

assist him when he walks. While he is able with such assistance to walk

short distances, he relies on a wheelchair to travel longer distances.

      65.    Mr. Miller and his family must rely on staff funded through the

Consolidated Waiver to provide him with the care and supports he needs,

including assistance with his daily living activities, administration of

medication, monitoring his G-Tube and G-J Tube.

      66.    Mr. Miller and his family also must rely on staff funded through

the Consolidated Waiver to assist Mr. Miller to participate in the community

activities that he enjoys, such as going to stores, amusement parks,

playgrounds, movies, and malls.




                                       18
         Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 19 of 74



         67.   Although Mr. Miller is authorized to receive 24 hours daily of

nursing and habilitation services, there are hours each week when staff are

unavailable to provide the authorized amount of services. When Mr.

Miller’s providers cannot send staff, his parents must fill in and provide both

nursing and habilitation services.

         68.   Mr. Miller’s mother is 64 years old. She is employed full-time

as a teacher, working one hour away from home and will not retire until she

is 70.

         69.   Mr. Miller’s father is 69 years old. He not only provides 40

hours of his habilitation, but also makes sure that all of his medications and

supplies are ordered, schedules staff, takes him to all of his medical and

dental appointments, coordinates all community outings, and covers

uncovered staff hours.

         70.   As Mr. Miller’s parents grow older, they are encountering their

own physical limitations. These limits, as well as their inability to assure

stable staffing for Mr. Miller at home, led them about 10 years ago to begin

to explore the possibility of residential habilitation for Mr. Miller.

         71.   Due to the risk that Mr. Miller may blind himself if he continues

to inflict retinal damage, his parents intensified their search for a residential

habilitation program between 2010 and 2011. At that time, Mr. Miller’s


                                         19
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 20 of 74



supports coordinator contacted many residential habilitation providers, but

none were willing to serve him.

      72.   In 2012, a provider, Horizon House, indicated it was willing to

provide residential habilitation to Mr. Miller with one other housemate.

Unfortunately, Horizon House stopped development of that program,

apparently due to a funding dispute with ODP.

      73.   Growing increasingly desperate to find a residential program for

Mr. Miller, his parents in February 2014 instructed his supports coordinator

to try to identify an ICF/IID willing to serve Mr. Miller, even though he would

lose his eligibility for the Consolidated Waiver if he accepted ICF/IID

services.

      74.   ICFs/IID are often large, congregate programs that are less

integrated, impose more restrictions, and provide less access to community

activities than residential habilitation programs funded by the Consolidated

Waiver.

      75.   In December 2014, Mr. Miller was referred to a private ICF/IID,

but in January 2015 his parents learned that he was not accepted.

      76.   On March 10, 2015, Mr. Miller’s parents informed the AE and

his supports coordinator that they could no longer wait and needed a

residential program for Mr. Miller immediately. Mr. Miller’s supports


                                      20
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 21 of 74



coordinator began a statewide search for residential habilitation providers

through the Consolidated Waiver and ICFs/IID.

      77.   In or around April 2015, a provider, Supportive Concepts for

Families, Inc. (SCFFI), expressed an interest in serving Mr. Miller, but

ultimately decided it was unable to provide him services. Mr. Miller’s

parents were devastated and disheartened by this decision.

      78.   Although neither the provider nor DHS provided Mr. Miller’s

parents with formal notice of the denial or appeal rights, they filed a request

for a fair hearing on May 16, 2015 with DHS’s Bureau of Hearings and

Appeals. In the appeal, Mr. Miller’s mother requested that she and her

husband be permitted to visit two of the state-operated ICFs/IID as

potential placements for Mr. Miller, even though DHS will not admit anyone

to those facilities absent a court-ordered commitment.

      79.   In the summer of 2015, while waiting for the administrative

hearing, Mr. Miller’s parents emailed DHS Secretary Dallas, spoke with the

Northeast Program Manager of ODP’s Bureau of Supports for People with

Intellectual Disabilities, and wrote to the AE to reiterate their requests for a

residential program for Mr. Miller.

      80.   On October 23, 2015, Sharon Johnson, the Executive

Secretary to the Deputy Secretary for DHS’s Office of Long Term Living,


                                       21
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 22 of 74



contacted Mr. Miller’s parents to follow up on their earlier email to Secretary

Dallas. Ms. Johnson inquired about the services that Mr. Miller received

from DHS and if he still needed assistance. Mr. Miller’s mother responded

by email the same day to explain Mr. Miller’s urgent need for residential

services and his inability to timely access such services and asked for help.

After sending that email, Mr. Miller’s parents heard nothing further from

DHS.

       81.   On October 22, 2015, a private ICF/IID provider met with Mr.

Miller and his parents to evaluate whether to admit him to one of their

ICFs/IID. In mid-December 2015, the provider declined to serve Mr. Miller.

       82.   On November 30, 2015, DHS’s Bureau of Hearings and

Appeals heard evidence on the appeal filed by Mr. Miller. No DHS officials

or staff attended. In response to an inquiry as to whether Mr. Miller would

have a placement within the next twelve months, the AE staff testified that

they could not estimate how long it would take to find him an appropriate

placement. When asked what would happen if Mr. Miller’s parents died

suddenly, the AE’s representative acknowledged that it would need to find

a residential provider for Mr. Miller, but could not currently offer any viable

options.




                                       22
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 23 of 74



      83.    In December 2015, the Bureau of Hearings and Appeals

dismissed Mr. Miller’s appeal for lack of jurisdiction.

      84.    After many years of searching and contacting local and state

officials for help, no residential habilitation provider has been identified who

is willing to serve Mr. Miller. Mr. Miller continues to live in his parents’

home while they struggle to meet his significant needs.

             2.    Albert M. Spurri

      85.    Albert M. Spurri is a 25-year-old man with an intellectual

disability that substantially limits his ability to think, learn, care for himself,

and interact with others.

      86.    Mr. Spurri is eligible for and participates in the Consolidated

Waiver.

      87.    Mr. Spurri currently lives at home with his parents. Mr. Spurri

has a close relationship with his family.

      88.    Mr. Spurri enjoys living in the community and participating in

community life. He goes to the gym, bowling, and horseback riding. He

enjoys helping his father with house maintenance and mowing the lawn.

He likes to spend time with his dog. He particularly enjoys attending

church.




                                         23
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 24 of 74



      89.     While Mr. Spurri has good receptive communication skills

(including understanding and following instructions), he has limited

expressive communication skills. He can say a few words, but otherwise

uses a communication application on his iPad and iPod, or points to

pictures or objects to communicate his needs or desires.

      90.     Mr. Spurri experiences migraine headaches, which can cause

him significant pain.

      91.     Mr. Spurri typically wants more food than he needs to maintain

a healthy weight, and currently is overweight.

      92.     As a result of his limited expressive communication skills, the

pain from his migraines, and his desire for more food, Mr. Spurri can

become frustrated and his frustration can lead to physical aggression.

      93.     Due to his size, weight, and physically aggressive behavior, Mr.

Spurri’s parents have found it increasingly difficult to maintain him safely in

their home.

      94.     Occasionally, in fear for their safety, Mr. Spurri’s parents have

locked themselves behind a door until their son calms down.

      95.     Currently, the primary services that Mr. Spurri is authorized to

receive through the Consolidated Waiver are a prevocational program five




                                        24
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 25 of 74



days a week; home and community habilitation for about 16 hours per

week; behavioral support; respite; and supports coordination.

      96.   In September 2014, Mr. Spurri’s mother contacted his supports

coordinator to request residential services for him.

      97.   On information and belief, Mr. Spurri’s supports coordinator

referred Mr. Spurri to at least 20 residential habilitation programs between

October 2014 and March 2015. Only one of those 20 programs agreed to

serve Mr. Spurri, but it conditioned its agreement on the use of physical

restraints when Mr. Spurri becomes upset.

      98.   Mr. Spurri has a behavior plan in place at his prevocational

program that has proven successful. Using that plan, Mr. Spurri has 1:1

male staff and when he gets upset his staff take him outside and leave him

alone in the fenced yard while monitoring him. When he is outside, he is

able to calm himself. Since this plan has been developed, Mr. Spurri has

made a great deal of progress in controlling his physical aggression, and

he has not had any serious incidents since September 2014 at his

prevocational program.

      99.   Mr. Spurri’s behavior specialist concluded that using any type of

restraint on him would be extremely dangerous for him and staff as he




                                     25
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 26 of 74



becomes much more aggressive when attempts are made to physically

manage him.

      100. Given the opinion of Mr. Spurri’s behavior specialist that

restraints should not be used and the successful, non-restrictive behavior

plan implemented at the prevocational program, Mr. Spurri’s parents

declined to allow him to be placed in a residential program that was

conditioned on use of physical restraints.

      101. In the summer of 2015, Mr. Spurri’s supports coordinator

referred him to four other residential providers, but they either had no

residential vacancies that would meet his requirements or they were

unwilling to serve him due to concerns about his aggressive behaviors.

      102. On information and belief, the residential habilitation providers

who rejected Mr. Spurri due to his behavioral issues were unwilling to

utilize his current behavior plan, which is working well at his prevocational

program, because it was deemed “restrictive.”

      103. Mr. Spurri has never been offered a one-person residential

habilitation program.

      104. It has been over 15 months since Mr. Spurri’s parents began

their quest for a residential habilitation program to serve their son, but their

efforts have yielded no results and he remains living in their home.


                                       26
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 27 of 74



      105. Mr. Spurri’s parents are under increasing stress as it becomes

ever more difficult to maintain him in their home.

      106. Mr. Spurri’s parents are willing to place him in an ICF/IID, even

though he would lose his eligibility for the Consolidated Waiver if he

accepted those services and even those ICFs/IID are often more restrictive

and less integrated than residential habilitation programs funded by the

Consolidated Waiver.

            3.    Other Exemplars

      107. In addition to Plaintiffs Miller and Spurri, DRN is aware and has

sometimes intervened on behalf of other Consolidated Waiver participants

who, because they were unable to promptly secure or maintain residential

habilitation and other related services, experienced institutionalization or

were placed at serious risk of institutionalization.

      108. Although the Consolidated Waiver participants who experience

these problems have disabilities that are challenging or complex so that

they are difficult to serve, the availability of timely and appropriate

interventions would enable them to remain in the community.

      109. DHS’s position is that all Consolidated Waiver participants are

able to be served in the community.




                                       27
         Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 28 of 74



                    a.    James Marston

        110. James Marston, a resident of Bucks County, is a Consolidated

Waiver participant.

        111. In addition to an intellectual disability, Mr. Marston has a

seizure disorder. These disabilities substantially limit his major life

activities, including thinking, learning, and caring for himself.

        112. Mr. Marston had been receiving residential habilitation and

other services through the Consolidated Waiver when in June 2013 he

suffered a brain injury that resulted in his loss of skills and impaired his

ability to communicate.

        113. Following his brain injury, Mr. Marston’s residential habilitation

provider notified him that it would terminate his services effective April 30,

2014.

        114. After receiving this termination notice, Mr. Marston’s supports

coordinator and his family attempted to locate another residential

habilitation provider for him without success.

        115. Mr. Marston’s AE indicated that it would file a petition to

involuntarily commit Mr. Marston to a state-operated ICF/IID because DHS

was unable to locate a residential habilitation provider for him.




                                        28
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 29 of 74



      116. DRN intervened on behalf of Mr. Marston, filing a federal

complaint, James Marston v. Dep’t of Human Services, No. 14-cv-2400

(E.D. Pa.), and a motion for a temporary restraining order to prevent Mr.

Marston’s unnecessary institutionalization.

      117. As a result of DRN’s intervention, DHS located another provider

to serve Mr. Marston and convinced his then-current provider to continue to

serve him until the new program was operational.

                   b.      J.H. 1

      118. J.H. 1, a resident of Philadelphia, is a Consolidated Waiver

participant.

      119. In addition to an intellectual disability, J.H. 1 has schizophrenia

and other mental health diagnoses. Her disabilities substantially limit her

major life activities, including thinking, learning, caring for herself, and

interacting with others.

      120. J.H. 1 had been receiving residential habilitation and other

services through the Consolidated Waiver when in May 2014 she was

hospitalized for psychiatric issues.

      121. When J.H. 1 was hospitalized, her residential habilitation

provider issued a notice terminating her services effective June 15, 2014.




                                       29
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 30 of 74



      122. J.H. 1’s supports coordinator attempted to locate another

residential habilitation provider for her. One provider, InVision Human

Services (InVision), was willing to provide J.H. 1 with residential habilitation

services, but could not establish the program until January 2015.

      123. J.H. 1 was ready to be discharged from the hospital on or about

July 23, 2014, but she remained hospitalized because DHS could not

identify either a residential habilitation provider available and willing to

serve her at that time or a respite care provider willing to serve her pending

development of the InVision program.

      124. On July 28, 2014, the hospital referred J.H. 1 to a homeless

shelter for her “discharge plan” in the absence of any services under the

Consolidated Waiver.

      125. DRN intervened on behalf of J.H. 1 to prevent her continued

unnecessary hospitalization, precipitous discharge to a homeless shelter,

or unnecessary commitment to a state institution. DRN spent many hours

in this endeavor, contacting county and DHS staff; attending meetings to

advocate for J.H. 1 to receive appropriate community services through the

Consolidated Waiver; urging hospital staff not to discharge her to a

homeless shelter or non-Waiver services; and drafting a federal complaint




                                       30
         Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 31 of 74



and motion for a temporary restraining order to prevent J.H. 1’s homeless-

ness or unnecessary institutionalization.

      126. After DRN advised DHS that it intended to file a lawsuit and

seek emergency relief for J.H. 1, DHS was able to identify a provider willing

to offer residential habilitation services to her.

      127. Since the residential habilitation program for J.H. 1 would not

be ready until August 27, 2014 and DHS could not identify respite services

she could use in the interim, J.H. 1 was hospitalized unnecessarily in a

subacute psychiatric unit until her residential habilitation program was

ready.

                   c.     A.M.

      128. A.M., a resident of Huntingdon County, has an intellectual

disability, mood disorder NOS, and borderline personality disorder. Her

disabilities substantially limit her major life activities, including thinking,

learning, caring for herself, and interacting with others.

      129. A.M. was enrolled in the Consolidated Waiver and began

receiving residential habilitation services in a group home in Huntingdon

County in December 2011.




                                         31
         Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 32 of 74



        130. In January 2013, A.M. became self-injurious. Her residential

habilitation provider contacted crisis services, which transported her to a

private hospital for mental health treatment.

        131. When she was hospitalized, A.M.’s residential habilitation

provider notified her that it was terminating her services.

        132. A.M.’s supports coordinator was unable to identify any other

providers interested in serving her due to her behavioral issues, even

though a behavior specialist had developed a behavior support plan and a

team (consisting of both intellectual disability and mental health profes-

sionals) had been formed to help A.M.

        133. With nowhere to go, A.M. was transferred from the private

hospital to Danville State Hospital in February 2013.

        134. A.M.’s mental health and behavioral issues improved, and she

was ready for discharge from Danville State Hospital beginning in early

2014.

        135. In or around late 2013, InVision agreed to develop a residential

habilitation program for A.M. in southeastern Pennsylvania, close to where

her mother lives, but stated it would take seven months before the program

would be ready.




                                      32
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 33 of 74



      136. By March 2015 – a year after A.M. was ready for discharge –

InVision had not developed a program for her and she remained at Danville

State Hospital. At that time, InVision stated that it had put its program

development for A.M. on hold because of lack of funding from ODP.

Although A.M. wanted to wait for InVision, the state hospital could not

continue to justify her institutionalization since she had been doing so well

for so long.

      137. In or around October 2015, DHS identified another provider

willing to develop a one-person residential habilitation program for A.M. in

Reading.

      138. A.M. is currently scheduled for discharge in January 2016 –

nearly two years beyond the time she was ready to leave.

      139. A DRN lay advocate has advocated for A.M. since November

2012. Prior to her institutionalization, the lay advocate attended the

Positive Practices Resource Team meetings and worked with her support

team in efforts to enable her to remain in the community. Since A.M.’s

admission to Danville State Hospital, the lay advocate has attended A.M.’s

Community Service Plan meetings, met with her and her mother, and

advocated for an appropriate discharge plan.




                                      33
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 34 of 74



                   d.     J.S.

      140. J.S. is a resident of Clarion County who has an intellectual

disability, schizophrenia, impulse control disorder, and atypical psychosis.

His disabilities substantially limit his major life activities, including thinking,

learning, caring for himself, and interacting with others.

      141. J.S. was enrolled in the Consolidated Waiver and began

receiving residential habilitation services from SCFFI, funded by that

Waiver, in March 2013.

      142. SCFFI notified J.S. on November 27, 2013 that it was no longer

willing to serve him. SCFFI stated that it was not able to support J.S. safely

or address the intensity of his clinical needs effectively.

      143. Although J.S.’s supports coordinator began looking for a new

residential habilitation provider when SCFFI issued the termination notice,

she was unable to find one.

      144. SCFFI continued to provide services to J.S. until December 18,

2013 when he was admitted to the Horsham Clinic due to psychiatric

issues.

      145. SCFFI refused to take J.S. back into the residential program

after he was hospitalized, and he remained at the Horsham Clinic.




                                         34
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 35 of 74



      146. On July 2, 2014, ODP notified DRN that J.S. was at risk of an

involuntary commitment to a state-operated ICF/IID due to the lack of any

willing residential habilitation provider to serve him.

      147. After receiving that notice, a DRN lay advocate visited J.S. at

the Horsham Clinic and communicated with his supports coordinator.

      148. DRN’s attorneys also began work on potential litigation to

intervene to prevent J.S.’s unnecessary institutionalization.

      149. Prior to initiating litigation, DRN learned that two residential

habilitation providers advised ODP that they would be willing to serve J.S.,

but that it would take at least six months to develop an appropriate program

for him. The providers indicated that the unavailability of adequate start-up

funds made in financially infeasible to develop a program for J.S.

      150. Two other providers also told ODP that they were willing to

provide residential habilitation services to J.S., but one said it would take a

year to develop a program and the other indicated that it could not have a

program ready until at least November 2014.

      151. Although J.S. was appropriate for discharge from the Horsham

Clinic in or around July 2014, he remained institutionalized unnecessarily

until November 2014 when he was able to move to a new residential

habilitation program.


                                       35
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 36 of 74



                   e.    T.B.

      152. T.B., a resident of Philadelphia, has an intellectual disability,

attention deficit hyperactive disorder, disruptive behavior disorder, and

mixed receptive-expressive language disorder. His disabilities substantially

limit his major life activities, including thinking, learning, caring for himself,

and interacting with others.

      153. T.B. was enrolled in the Consolidated Waiver and received

residential habilitation services funded by that Waiver.

      154. In April 2014, T.B. was admitted to a private psychiatric

hospital.

      155. T.B.’s residential habilitation provider terminated him after his

admission to the psychiatric hospital.

      156. In May 2014, when T.B. was ready for discharge from the

psychiatric hospital, there were no other residential habilitation providers

able and willing to serve him and he went home to live with his parents.

      157. Although T.B. received some in-home supports funded by the

Consolidated Waiver, living with his family was not an appropriate

placement for him. T.B. sometimes refused to cooperate with staff,

became assaultive toward his mother and staff, destroyed property, and

attempted to injury himself.


                                        36
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 37 of 74



      158. In less than a month, T.B. was involuntarily committed to a

psychiatric hospital in June 2014. Although T.B. was stabilized and ready

for discharge within two weeks, his parents refused to allow him to return

home due to concerns about T.B.’s and their own health and safety.

      159. A DRN lay advocate intervened, contacting T.B.’s AE to try to

identify an alternative placement for T.B. Although a residential habilitation

provider willing to serve T.B. had been identified, it would not be able to

have the program ready until July 2014. As a result, the AE indicated that

T.B. would be homeless when the hospital discharged him.

      160. The DRN lay advocate then contacted ODP in an effort to

prevent T.B.’s imminent homelessness and continued to work with T.B.’s

supports coordinator to identify alternatives.

      161. DRN attorneys also began to prepare litigation to prevent T.B.’s

homelessness and to assure that he had access to the services to which

he was entitled under the Consolidated Waiver.

      162. By mid-June 2014, T.B. was ready for discharge from the

psychiatric hospital and no services, even respite services, had been

identified that would be able to serve him for the short time period until his

residential habilitation placement was ready.




                                      37
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 38 of 74



      163. Ultimately, ODP transferred T.B. to a mental health crisis

residential program in Delaware County because his Medicaid behavioral

health insurer agreed to pay for it and because there was no Consolidated

Waiver providers available and willing to even provide respite care to him

for a short time. T.B. remained in the crisis program for several days until

he was transferred to his residential habilitation program.

                   f.    J.H. 2

      164. J.H. 2 is a 26-year-old resident of Lackawanna County who has

diagnoses of an intellectual disability, fetal alcohol spectrum disorder,

borderline personality disorder, and mood disorder. Her disabilities

substantially limit her major life activities, including thinking, learning, caring

for herself, and interacting with others.

      165. J.H. 2 was enrolled in the Consolidated Waiver in September

2008, and began receiving habilitation services in her home.

      166. In November 2008, J.H. 2 moved to a residential habilitation

program funded by the Consolidated Waiver. While living there, she

became pregnant and gave birth to a son in September 2010.

      167. J.H. 2 moved with her son to the private home of the supervisor

of her residential habilitation program, who received Consolidated Waiver

funding to provide “shared living” services to J.H. 2 The shared living


                                        38
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 39 of 74



provider became the foster mother to J.H. 2’s son, and subsequently

initiated legal proceedings to gain full custody. This destroyed the

relationship between J.H. 2 and the shared living provider.

      168. In October 2010, J.H. 2 was admitted to a private hospital due

to mental health issues, and remained there until May 2011.

      169. Upon her discharge from the psychiatric hospital in May 2011,

J.H. 2 moved to another residential habilitation program, but she left in

December 2011 due to assaultive behaviors.

      170. J.H. 2 then moved to her own apartment and received home

and community-based habilitation services funded by the Consolidated

Waiver. In May 2014, she was evicted from her apartment for fighting with

her neighbors.

      171. J.H. 2 moved to another apartment and continued to receive

habilitation services funded by the Consolidated Waiver. However, her

habilitation services provider terminated her in July 2014 when she

reportedly injured a staff person and another provider had to be located.

      172. J.H. 2 subsequently moved in with her sister and refused all

services and supports available under the Consolidated Waiver. J.H. 2’s

mother and sister became the representative payee for her Social Security

benefits and allegedly used the funds for their own needs. During the short


                                     39
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 40 of 74



period that J.H. 2 lived with her sister, multiple 911 calls were made and

she had multiple crisis evaluations in the emergency room due to outbursts.

      173. In November 2014, J.H. 2 moved into another residential

habilitation program. Between November 2014 and early February 2015,

staff at the program contacted the local police department eight times when

J.H. 2 had outbursts resulting in property destruction, aggression towards

others, and self-injurious behaviors. These repeated police calls led to

issuance of a notice to the provider on February 12, 2015 that the home

would be designated as a nuisance property.

      174. On February 16, 2015, J.H. 2 was involuntarily committed to a

private hospital for psychiatric treatment after she attempted suicide.

      175. J.H. 2 was ready to be discharged from the private hospital on

March 23, 2015, but her residential habilitation provider would not allow her

to return to the home.

      176. When it appeared that the private hospital might discharge J.H.

2 to her sister’s care, the County MH/ID Program filed a petition for

appointment of an emergency guardian to prevent that outcome due to

concerns that J.H. 2 had been subject to financial exploitation by her sister.




                                     40
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 41 of 74



      177. On March 26, 2015, the court appointed an emergency

guardian of the person for J.H. 2 and the residential habilitation provider

issued a formal termination notice to the emergency guardian.

      178. ODP requested that a DRN lay advocate work on J.H. 2’s

behalf to help secure appropriate home and community-based services

under the Consolidated Waiver.

      179. J.H. 2’s support team, including the DRN lay advocate, met

frequently to try to identify a new residential habilitation program for her, but

they could not identify any interested providers due to her behavioral issues

and she remained in the private hospital.

      180. On April 7, 2015, the private hospital filed a petition to

involuntarily commit J.H. 2 to a state ICF/IID.

      181. Prior to the scheduled commitment hearing on April 16, 2015,

J.H. 2’s team identified a residential habilitation provider who might be

willing to serve her. J.H. 2 was scheduled to meet with that provider on

April 27, 2015. The court agreed to stay any ruling on the commitment

petition pending the outcome of the provider’s meeting with J.H. 2

      182. After the provider met with J.H. 2, it advised her team that it

was not willing to serve her.




                                       41
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 42 of 74



      183. At the continued hearing on April 30, 2015, the court

involuntarily committed J.H. 2 to a state ICF/IID, and she was transferred

there in June 2015.

      184. Despite her participation in the Consolidated Waiver, J.H. 2

spent three months unnecessarily institutionalized in a psychiatric hospital

and has been unnecessarily institutionalized in a state ICF/IID for the past

seven months with no end in sight due to the inability to identify willing

residential habilitation providers.

                   g.      K.J.

      185. K.J., a resident of Allegheny County, has an intellectual

disability and mood disorder NOS. Her disabilities substantially limit her

major life activities, including thinking, learning, caring for herself, and

interacting with others.

      186. At age 10, the Allegheny County Office of Children, Youth and

Families removed K.J. from her mother’s care due to physical and

emotional abuse.

      187. K.J. was enrolled in the Consolidated Waiver in July 2008,

receiving residential habilitation services. Between July 2008 and October

1, 2014, K.J. moved among several different residential habilitation




                                       42
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 43 of 74



programs, all of which were operated by the same provider. During this

timeframe, K.J. was on probation for theft and false allegations.

      188. On October 1, 2014, K.J. moved to another residential

habilitation program operated by a different provider.

      189. Within days of this move, K.J. reported to her supports

coordinator that she was very unhappy in her new home and threatened

suicide. Her supports coordinator contacted crisis services and K.J.’s

probation officer. K.J. was involuntarily committed to Western Psychiatric

Institute and Clinic (WPIC) for mental health treatment on October 9, 2014.

      190. Within a short time, K.J. was ready for discharge from WPIC,

but her provider refused to take her back to her residential habilitation

program.

      191. Since K.J. was not allowed to be homeless while on probation,

her probation officer took her from WPIC to the Washington County jail on

October 17, 2014.

      192. Upon information and belief, K.J. was released from the

Washington County jail to a diversion/stabilization program for temporary

treatment on December 4, 2014.

      193. On December 19, 2014, K.J. was admitted to Mercy Crisis

Response Center, a temporary mental health crisis shelter, in Allegheny


                                      43
         Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 44 of 74



County because she had nowhere else to go, including no residential

habilitation program willing to accept her.

        194. Since she could not stay at the mental health crisis shelter for

more than 30 days and she had nowhere else to go, K.J. was discharged to

her mother’s home on January 20, 2015.

        195. On January 23, 2015, K.J. voluntarily admitted herself to a

private hospital’s behavioral health unit.

        196. K.J. was not able to return to her mother’s home after she

stabilized. So, on January 28, 2015, her probation officer returned her to

jail.

        197. On April 17, 2015, K.J. was released from jail. Since she still

had no residential habilitation program or other residential options, K.J.

returned to Mercy Crisis Response Center.

        198. Upon information and belief, the Allegheny County Department

of Human Services filed a petition to involuntarily commit K.J. to a state-

operated ICF/IID on April 21, 2015. Before a hearing on that petition could

be held, Mercy Crisis Response Center initiated an involuntary psychiatric

commitment of K.J. for suicidal ideation on May 6, 2015. K.J. subsequently

agreed to voluntarily admit herself for psychiatric treatment.




                                       44
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 45 of 74



      199. On May 20, 2015, the Allegheny County Court of Common

Pleas held a hearing on the petition to involuntarily commit K.J. to a state-

operated ICF/IID. The Court granted the petition, and ordered K.J. to be

committed to Polk Center. K.J. was transferred to Polk Center on June 2,

2015, where she remains.

      200. Due to DHS’s failure to secure appropriate residential

habilitation services for K.J., she bounced between jail, mental health

treatment and crisis centers, psychiatric hospitals, and her mother’s home

for close to nine months and has been unnecessarily institutionalized in a

state ICF/IID for more than seven months.

                   h.    J.C.

      201. J.C., a resident of Luzerne County, has an intellectual disability

and was a Consolidated Waiver participant. Her disabilities substantially

limit her major life activities, including thinking, learning, caring for herself,

and interacting with others.

      202. J.C. was receiving residential habilitation and other waiver

services in the community until approximately August 2014, when she

started exhibiting aggressive behaviors.




                                        45
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 46 of 74



      203. J.C. was hospitalized for a medical evaluation, and then

admitted to First Hospital for psychiatric hospitalization on or around

August 6, 2014.

      204. On August 22, 2014, J.C.’s residential habilitation provider

indicated that it no longer would provide services to her.

      205. When J.C. became ready for discharge, J.C. remained

hospitalized at First Hospital while her supports coordinator attempted to

locate a community provider for her by contacting providers on the vacancy

list. No provider was located to serve J.C.

      206. The county and J.C.’s team determined that she needed

ongoing mental health services to help her transition from inpatient care,

but because of the lack of resources for individuals with intellectual

disabilities needing mental health care, a community provider could not be

located and J.C. was being considered by her team for admission to a state

psychiatric hospital or a state center.

      207. On information and belief, one of the state psychiatric hospitals,

Clarks Summit, evaluated J.C. and determined that she did not need

psychiatric hospitalization.




                                      46
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 47 of 74



      208. DRN wrote to DHS on September 19, 2014 about J.C.’s

potential unwarranted commitment and requested intervention to prevent

unnecessary institutionalization.

      209. On or about October 21, 2014, a petition to commit J.C. was

filed, and a hearing was held three days later.

      210. In early December 2014, J.C. was transferred to Hamburg

State Center, one of the state-operated ICFs/IID, because DHS could not

locate a provider to provide services in the community.

      211. On or around December 28, 2014, J.C. died at Hamburg State

Center. She had just turned 28 years old.

                   i.      D.L.

      212. D.L., a resident of Luzerne County, has an intellectual disability

and various psychiatric diagnoses. Her disabilities substantially limit her

major life activities, including thinking, learning, caring for herself, and

interacting with others.

      213. At an early age, she was removed from her family home by the

county Office of Children, Youth, and Families due to abuse. Growing up,

she lived with a variety of foster care families and then was placed at a

residential treatment facility.




                                       47
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 48 of 74



      214. Just before she turned 19 years old, D.L. was enrolled in the

Consolidated Wavier effective October 8, 2013.

      215. After spending some time in a residential habilitation program

funded by the Consolidated Waiver, D.L. began exhibiting aggressive

behaviors and returned to her mother’s home on March 20, 2014.

      216. D.L. was admitted to First Hospital’s psychiatric unit on March

25, 2014.

      217. Between March 25 and the end of June, 2014, D.L.’s supports

coordinator attempted but was not able to locate a residential provider for

D.L. D.L. remained at First Hospital with no place to go.

      218. In July 2014, staff of First Hospital filed a petition to have D.L.

committed to a state-operated ICF/IID. In the petition, noting that efforts to

secure D.L. a residential placement in the community had been unsucces-

sful, the certifying doctor wrote that he was recommending placement in a

state-operated ICF/IID “in the interim between this hospital and a

permanent placement.”

      219. D.L. was committed in a July 8, 2014 hearing and was

transferred to Polk Center, one of the state-operated ICFs/IID. She was 20

years old. D.L. remains at Polk Center and regularly expresses her desire

to be discharged and returned to the community.


                                      48
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 49 of 74



                   j.    Karen Blakely

      220. Ms. Blakely is a resident of Philadelphia who has diagnoses of

an intellectual disability and bipolar disorder. Her disabilities substantially

limit her major life activities, including thinking, learning, caring for herself,

and interacting with others

      221. In 2005, Ms. Blakely was placed in a one-person residential

habilitation program funded through the Consolidated Waiver. She lived

there until 2009, when her mother removed her after she sustained second-

degree burns when staff threw hot water on her in response to a behavioral

incident. At that time, Ms. Blakely’s mother took her home.

      222. After she returned to her mother’s home, she received only

limited services through the Consolidated Waiver.

      223. In February 2010, Ms. Blakely’s behavioral issues worsened

and she became assaultive toward her mother.

      224. In June 2010, Ms. Blakely was admitted to a private psychiatric

hospital in Philadelphia.

      225. At the hospital, the doctors took Ms. Blakely off of her

medications, resulting in a marked improvement in her functional abilities.

      226. Ms. Blakely’s AE identified a provider willing to offer her

residential habilitation services in the summer of 2010. The provider and


                                        49
         Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 50 of 74



ODP negotiated for more than a year, but were unable to negotiate a rate

acceptable to the provider to serve Ms. Blakely. During those negotiations,

Ms. Blakely remained institutionalized in the psychiatric hospital.

      227. By the spring of 2011, the private psychiatric hospital where

Ms. Blakely was confined indicated that it would initiate proceedings to

commit her to a state-operated ICF/IID given the lack of progress in

developing a community residential habilitation program for her.

      228. In June 2011, Ms. Blakely joined a lawsuit, Mumford v. Dep’t of

Public Welfare, Civil Action No. 11-3312 (E.D. Pa.), filed by DRN to

challenge her unnecessary institutionalization and DHS’s failure to offer her

services in the community, the most integrated setting appropriate to her

needs.

      229. After the lawsuit was filed, DRN filed a motion for temporary

restraining order and preliminary injunction and took discovery.

      230. DHS identified a residential habilitation provider to serve Ms.

Blakely, and the parties entered into a settlement agreement in September

2011 to resolve the litigation.

      231. Ms. Blakely was finally discharged from the psychiatric hospital

to a residential habilitation provider in early 2012 – approximately 18

months after she was appropriate for discharge.


                                      50
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 51 of 74



      D.    Systemic Obstacles to Timely Accessing
            and Maintaining Residential Habilitation
            Services through the Consolidated Waiver.

      232. Consolidated Waiver participants with complex and challenging

needs – specifically those with mental illness and those with significant

medical needs – often encounter particular difficulties in accessing and/or

maintaining residential habilitation and other services necessary to avoid

institutionalization and remain in their communities.

      233. Systemic obstacles impede providers’ agreement to serve

these participants in residential habilitation programs and impede those

participants’ long-term success in such programs even when providers do

agree to serve them. These systemic obstacles include, but are not limited

to, those listed below.

      234. ODP acknowledged the deficits in its community-service

system for individuals with dual diagnoses of intellectual disability and

mental illness and that these deficiencies lead to unnecessary admissions

to state institutions for people with intellectual disabilities, hospitals, and

psychiatric hospitals. Admissions to State Operated Intermediate Care

Facilities for Persons with Intellectual Disabilities, ODP Informational Memo

045-12 (June 8, 2012).




                                        51
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 52 of 74



      235. In June 2012, ODP outlined various steps it would take to better

address the needs of individuals with dual diagnoses of intellectual

disability and mental illness with the goal of having zero admissions to state

institutions for individuals with intellectual disabilities for a 12-month period

beginning in July 2012. Admissions to State Operated Intermediate Care

Facilities for Persons with Intellectual Disabilities, ODP Informational Memo

045-12 (June 8, 2012).

      236. Instead, at least 30 individuals have been committed to those

state institutions since July 1, 2012, one as recently as days before the

filing of this Complaint. Many other Consolidated Waiver participants have

been unnecessarily institutionalized in state hospitals, private psychiatric

hospitals, nursing facilities, and other inappropriate settings since that time.

            1.    Inadequate Crisis Supports and Services

      237. The Consolidated Waiver does not fund crisis services (such as

mobile crisis and technical support for direct care staff) that can be used by

participants in residential habilitation programs to help them if they

experience significant crises that cannot be readily addressed by their staff.

      238. Crisis services are available primarily through the mental health

system, but most of those services do not have staff with expertise in




                                       52
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 53 of 74



supporting individuals with dual diagnoses of intellectual disability and

mental illness.

      239. Although the Consolidated Waiver funds overnight respite care,

it is not adequate to provide crisis relief.

            a.     On information and belief, there are insufficient overnight

respite programs who are willing and have the expertise to provide effective

crisis services to individuals with dual diagnoses of intellectual disability

and mental illness so that they can stabilize and return to their residential

habilitation programs.

            b.     In addition, the Consolidated Waiver generally caps

overnight respite care at 30 days a year which is insufficient to provide

relief for Consolidated Waiver participants whose residential habilitation

providers have terminated them since it can take months to identify and

develop new residential habilitation programs.

      240. Consolidated Waiver participants with dual diagnoses of

intellectual disability and mental illness who require emergency or short-

term psychiatric hospital care are usually placed in hospitals that lack

experience in serving individuals with intellectual disabilities. On

information and belief, there are only two hospitals in Pennsylvania with




                                        53
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 54 of 74



expertise in providing psychiatric treatment to individuals with intellectual

disabilities and they often have waiting lists.

      241. In March 2014, ODP’s “Futures Planning” Action Team

indicated that ODP should “integrate flexible models of service that can

support people’s changing needs in their home communities, including

supporting people through a physical or behavioral crisis.” The Action Plan

included developing a “Crisis Assistance/Support/Stabilization Team” to

assist providers in preventing crises and supporting individuals through

crises and designing and developing support programs that can assist

individuals in transitions and crises. On information and belief, nearly two

years later, these plans have not been implemented.

             2.   Inadequate and Uncertain Payment

      242. Prior to July 2009, residential habilitation providers negotiated

with and were paid rates by County MH/ID Programs (using allocations

from DHS).

      243. In July 2009, DHS began paying residential habilitation provi-

ders directly for those services.

      244. DHS pays two rates for each individual served in a residential

habilitation program: (a) the “eligible rate,” which is supposed to cover

costs eligible for federal financial participation under Medicaid, and (b) the


                                       54
         Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 55 of 74



“ineligible rate,” for room and board costs that are not eligible for federal

financial participation and are paid solely using state dollars.

      245. DHS uses a “cost-based” rate system to annually determine the

eligible rate for each residential habilitation program administered by each

provider.

      246. DHS begins the process to establish the eligible rates by

reviewing cost reports that providers submit for each of their residential

habilitation programs.

      247. DHS reviews providers’ submitted cost reports to identify

residential habilitation programs that are “outliers.”

      248. If DHS determines that an existing residential habilitation

program is not an outlier, DHS assigns an eligible rate based on the cost

report. Because the cost report reflects costs that are at least one year old,

the assigned rate may be insufficient to reimburse the provider for its actual

costs.

      249. If DHS determines that an existing residential habilitation

program is an outlier, DHS will assess whether the residents’ ISPs justify

the increased costs. If DHS determines that the ISPs do not justify the

increased costs, DHS reduces the eligible rate assigned to the program,

resulting in rates that may not cover the provider’s actual costs.


                                       55
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 56 of 74



      250. Since residential habilitation programs that serve Consolidated

Waiver participants with challenging needs have higher costs and thus are

more likely to be deemed “outliers,” they are more at risk of rate reductions

by DHS.

      251. On information and belief, DHS has used the outlier assess-

ment process to reduce rates for residential habilitation programs that

serve Consolidated Waiver participants with complex or challenging needs.

      252. On information and belief, DHS’s reduction of rates for residen-

tial habilitation programs that serve Consolidated Waiver participants with

complex or challenging needs using the outlier assessment process has

resulted in rates that are not sufficient to cover providers’ costs to serve

those clients.

      253. If the General Assembly approves, DHS may apply a cost of

living adjustment (COLA) to increase eligible rates for residential

habilitation. However, no COLAs have been authorized for residential

habilitation since at least Fiscal Year 2012-13.

      254. DHS may apply a “rate adjustment factor” to reduce both

eligible and ineligible rates for residential habilitation services to assure that

aggregate payments do not exceed the amount appropriated by the

General Assembly. Although DHS has not used the rate adjustment factor


                                       56
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 57 of 74



in the past several fiscal years, it has been used in previous years to

reduce rates. On information and belief, the use of the rate adjustment

factor resulted in providers’ inability to recover the costs incurred to provide

residential habilitation programs.

      255. Often, Consolidated Waiver participants who have complex or

challenging needs cannot be served in existing residential habilitation

programs and need to have new programs created to meet their needs.

      256. For new residential habilitation programs, DHS assigns an

eligible rate that is either: (a) based on the average of the provider’s cost-

based rates if the provider operates other residential habilitation programs,

or (b) based on the adjusted average of other providers’ cost-based rates in

the geographic area if the provider has never offered residential habilitation

services.

      257. The rates for new residential habilitation programs are not

based on the actual projected costs for those programs given the

Consolidated Waiver participants’ unique needs, but on the needs of

participants in other residential habilitation programs who may not have

complex or challenging needs.

      258. On information and belief, DHS has a “high cost” process that it

may use to set rates for residential habilitation programs intended to serve


                                      57
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 58 of 74



Consolidated Waiver participants with complex or challenging needs. DHS

does not publicize that this process exists or how it works, but simply

instructs providers to contact the ODP’s Regional Fiscal Officer. Further,

there are no timelines within which the request for a high cost rate must be

resolved, which can lead to delays in developing services for participants.

      259. Aside from the inadequacy of eligible rates for residential

habilitation services to incentivize providers to serve Consolidated Waiver

participants with challenging needs, the ineligible rates paid by DHS for

room and board are also inadequate. The current ineligible rates are about

$25,000 per program annually. Even with the additional contribution that

the participants pay from their benefits and the availability of food stamps

and other supports, the ineligible rates may not be adequate to cover all of

the ineligible costs such as utilities, water, sewage, maintenance, and

repairs. The ineligible rates are also subject to application of the downward

rate adjustment factor.

      260. Providers are hesitant to offer residential habilitation services to

Consolidated Waiver participants with complex or challenging needs not

only because of the inadequate amount of the rates, but also due to the

uncertainty built into the rate-setting system. Providers have had

experiences where they agree to serve a challenging participant at a rate


                                      58
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 59 of 74



that is sufficient, but within a year or two DHS reduces the rate – whether

through the outlier process or application of the rate adjustment factor or

otherwise – to a point where it is insufficient to meet the costs of the

program, particularly when combined with a lack of COLAs. Providers

whose costs exceed their compensation are then unwilling to continue to

serve those participants or to accept new participants with challenging

needs – regardless of the rate offered – due simply to fear that the rates

will be reduced.

      261. Another cost-related factor adversely affecting the willingness

of providers to offer residential habilitation services to Consolidated Waiver

participants with challenging needs is the lack of adequate funding for start-

up costs to develop new residential habilitation programs, which are often

required for such participants who cannot readily fit into vacancies in

existing programs.

      262. DHS caps start-up costs for new residential habilitation

programs at $5,000 per resident.

      263. Start-up costs include such items as staff salaries and training,

but exclude reimbursement for the acquisition or construction of long-lived

assets, such as housing.




                                      59
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 60 of 74



      264. Even allowable start-up costs for a new residential habilitation

program to serve a Consolidated Waiver participant with complex or

challenging needs are likely to significantly exceed the cap of $5,000 per

resident.

      265. One provider estimated start-up costs for a three-person home

for individuals with challenging behavioral health needs at $84,000.

      266. DHS’s expectation that providers absorb the excluded start-up

costs and those in excess of $5,000 per person further limits providers’

willingness to create new residential habilitation programs for Consolidated

Waiver participants with challenging needs.

            3.    Staffing Challenges

      267. Consolidated Waiver participants with behavioral health or

medical needs can be difficult to serve, resulting in support staff frustration

and turnover.

      268. The rate system, and especially the lack of COLAs, results in

low wages and high staff turnover, making it even harder to recruit and

retain staff with the skill level needed to serve Consolidated Waiver

participants with complex or challenging needs.




                                      60
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 61 of 74



      269. The Consolidated Waiver permits enhanced staffing for

participants with challenging behavioral health or complex medical needs,

including nursing or 1:1 or 2:1 staffing.

      270. ODP must authorize enhanced staffing based on the supports

coordinator’s documentation of the participant’s need for it, how it will be

used to address the participant’s need, and a timeframe to reduce the

enhanced staffing (before it even begins).

      271. On information and belief, the process to secure ODP approval

for enhanced staffing is time-consuming, making it difficult for providers to

promptly provide enhanced staffing when necessary to meet the needs of a

challenging resident in crisis or forcing the providers to pay for the

enhanced staff and risk non-reimbursement by DHS.

      272. The inability to timely secure ODP approval for enhanced

staffing further deters providers from serving Consolidated Waiver

participants with complex or challenging needs who may need enhanced

staffing in the future.

             4.    Lack of Consequences for Termination

      273. Consolidated Waiver participants with complex or challenging

needs are more likely than other participants to be subject to termination by

residential habilitation providers.


                                       61
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 62 of 74



      274. When a residential habilitation provider terminates services, it

can mean the loss of the participant’s home and the need to find a new

provider and a new home.

      275. When a provider is no longer willing or able to serve a

Consolidated Waiver participant, it must provide 30-days’ written

termination notice to the participant, his or her supports coordinator, the

AE, and any legal representative of the participant. 55 Pa. Code §

51.31(e).

      276. The 30-days’ notice requirement is a “minimum requirement.”

ODP Information Memo. 069-13 at 16 (Aug. 29, 2013). State law requires

a provider who terminates a Consolidated Waiver participant’s services to

continue to serve the participant until he or she can be transitioned to a

new provider unless the provider gives written notice to DHS that it cannot

do so due to “emergency circumstances.” 55 Pa. Code §§ 51.31(e)-(f).

      277. Although state law requires a provider to continue to serve the

Consolidated Waiver participant until he or she can be transitioned to a

new residential habilitation program to assure continuity of care, 55 Pa.

Code § 51.31, providers frequently do not comply with that obligation.

      278. On information and belief, DHS allows providers to terminate

residential habilitation services before new providers are identified for


                                      62
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 63 of 74



Consolidated Waiver participants and imposes no consequences for

providers who refuse to continue to provide services to participants before

they can be transitioned to new providers.

            5.    Inadequate System to Identify Willing Providers

      279. Currently, DHS relies primarily on the Consolidated Waiver

participants’ supports coordinators to locate residential habilitation

providers for those participants who newly request those services and for

those who have been terminated by their existing providers.

      280. On information and belief, supports coordinators are permitted

to review vacancy lists for local programs to see if participants can fit into

existing residential habilitation programs.

      281. On information and belief, if the supports coordinator cannot

identify a vacancy in an existing, local residential habilitation program

appropriate for the participant, the supports coordinator will be permitted to

review the statewide vacancy list to determine if the participant can fit into

an existing residential habilitation program elsewhere in Pennsylvania.

      282. On information and belief, when supports coordinators cannot

identify vacancies that are available and appropriate to serve a Consoli-

dated Waiver participant, the process often comes to a halt. On informa-

tion and belief, there is no means by which the supports coordinators can


                                       63
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 64 of 74



begin the process to identify a provider who is willing to develop a new

residential habilitation program to serve the participant.

      283. The lack of an established system to assist supports

coordinators to promptly identify providers able and willing to serve

Consolidated Waiver participants with complex or challenging needs, either

through vacancies or the creation of new programs, further delays

participants’ ability to timely access such services.

      284. DHS has no timelines for when a Consolidated Waiver

participant who requests residential habilitation services will be provided

those services.

      285. DHS has no system to track efforts to identify willing and able

providers for Consolidated Waiver participants who seek residential

habilitation services or to intervene if the process does not promptly identify

willing and able providers.

            6.    Lack of Capacity

      286. DHS does not have sufficient capacity in its Consolidated

Waiver program to timely serve participants with complex or challenging

needs who seek such services initially or need to transfer from programs

from which they have been terminated.




                                      64
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 65 of 74



      287. DHS has not assured that it has sufficient providers who have

expertise and a track record of success in serving individuals with complex

or challenging needs.

      288. On information and belief, many providers cannot offer effective

residential habilitation services to Consolidated Waiver participants with

complex or challenging needs because they do not have funding available

to pay professionals with expertise who can serve as resources to serve

those participants.

V.    Claims

      A.    Count I: Prompt Access to Residential
            Habilitation Services Under Title XIX

      289. Paragraphs 1 through 288 are incorporated by reference as if

fully set forth herein. This Count is brought against Defendant Dallas for

actions and omissions in his official capacity under color of state law.

      290. Under Title XIX, states that participate in the Medical Assis-

tance program, including Pennsylvania, must make Medical Assistance

benefits available to eligible persons. 42 U.S.C. § 1396a(a)(10)(A).

      291. Title XIX provides that HCBS Waiver services approved by

CMS constitute "Medical Assistance" under the state plan. 42 U.S.C. §

1396n(c)(1).



                                      65
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 66 of 74



      292. Since CMS has approved the Consolidated Waiver, the

services provided under that HCBS Waiver are “Medical Assistance”

services that must be made available to eligible individuals.

      293. Once in an HCBS Waiver, participants must be provided with

access to all services available under the Waiver that they need. See

Olmstead Update No. 4 (Jan. 10, 2001).

      294. Since residential habilitation is a service funded by the

Consolidated Waiver, participants in that Waiver have an entitlement under

Title XIX to receive that service if it is appropriate for them.

      295. Title XIX further mandates that Medical Assistance shall be

furnished with “reasonable promptness to all eligible individuals.” 42

U.S.C. § 1396a(a)(8). Defendant thus must furnish Medical Assistance,

including residential habilitation and other services under the Consolidated

Waiver, promptly and without any delay caused by the agency’s admini-

strative procedures. 42 C.F.R. § 435.930(a).

      296. Plaintiffs Spurri and Miller are Consolidated Waiver participants

who want, need, and are eligible for residential habilitation services.

      297. Plaintiffs Spurri’s and Miller’s parents have tried repeatedly and

over periods in excess of one year to access residential habilitation

services for them. Those efforts have proved fruitless.


                                       66
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 67 of 74



      298. In addition to Plaintiffs Spurri and Miller, Plaintiff DRN is aware

of and has intervened on behalf of other Consolidated Waiver participants

who have complex medical needs or challenging behavioral health needs

and who have either been unable to access residential habilitation and

other services necessary to avoid institutionalization or have been unable

to promptly access such services.

      299. DHS has no timelines governing when residential habilitation

services must be provided to Consolidated Waiver participants who seek

such services.

      300. DHS’s policies and practices impede the timely availability of

residential habilitation services for Consolidated Waiver participants with

challenging needs.

      301. Defendant Dallas’s actions and omission under color of state

law that have resulted in the failure to assure that Plaintiffs Spurri and Miller

and other Consolidated Waiver participants have access and/or timely

access to residential habilitation services violate 42 U.S.C. §§ 1983,

1396a(a)(8), and 1396a(a)(10)(A).




                                       67
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 68 of 74



      B.    Count II – Comparability Under Title XIX

      302. Paragraphs 1 through 301 are incorporated by reference as if

fully set forth herein. This Count is brought against Defendant Dallas for

actions and omissions in his official capacity under color of state law.

      303. Title XIX requires DHS to assure that the Medical Assistance

benefits available to a “categorically needy” beneficiary are not “less in

amount, duration, or scope than the medical assistance made available to

any other” categorically needy beneficiary or to a medically needy

beneficiary. 42 U.S.C. § 1396a(a)(10)(B).

      304. DHS provides residential habilitation services to many other

Medical Assistance participants who participate in the Consolidated

Waiver.

      305. Plaintiffs Miller and Spurri are categorically needy Medical

Assistance participants who are eligible for residential habilitation services

through the Consolidated Waiver, but have been unable to receive those

services.

      306. Other Consolidated Waiver participants with complex or

challenging needs eligible for residential habilitation services have been

unable to receive those services.




                                      68
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 69 of 74



      307. Defendant Dallas’s actions and omissions that preclude Plain-

tiffs and other Consolidated Waiver participants with complex or chal-

lenging needs from accessing appropriate residential habilitation services

comparable to the access afforded to other Medical Assistance

beneficiaries violate 42 U.S.C. §§ 1983 and 1396a(a)(10)(B).

      C.     Count III – Violations of the ADA and RA

      308. Paragraphs 1 through 307 are incorporated by reference as if

fully set forth herein.

      309. This Count is brought solely against Defendant DHS with

respect to Section 504 of the Rehabilitation Act (RA) and against

Defendant Dallas for actions and omissions in his official capacity under

color of state law with respect to Title II of the Americans with Disabilities

Act (ADA).

      310. Plaintiffs and other Consolidated Waiver participants have

intellectual disabilities, impairments that substantially limit one or more of

their major life activities including but not limited to caring for themselves,

learning, concentrating, thinking, and interacting with others. As such,

Plaintiffs and other Consolidated Waiver participants are persons with

disabilities protected by the ADA, 42 U.S.C. §§ 12102(1)(A), 12102(2)(A),

and the RA, 29 U.S.C. § 705(20)(B).


                                       69
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 70 of 74



      311. Plaintiffs Spurri and Miller and other Consolidated Waiver

participants are eligible for and participate in the Medicaid Consolidated

Waiver, and as such are qualified persons with disabilities under the ADA

and RA.

      312. DHS, administered by Defendant Dallas, is a public entity

subject to the requirements of Title II of the ADA. 42 U.S.C. § 12131(1)(B).

      313. DHS is a recipient of federal financial assistance and, as such,

is subject to the requirements of Section 504 of the RA. 29 U.S.C. §

794(b).

      314. Plaintiffs Spurri and Miller and other Consolidated Waiver

participants are appropriate for and want to live in the community.

      315. The community is the most integrated setting appropriate to

meet the needs of Plaintiffs Spurri and Miller and other Consolidated

Waiver participants.

      316. Residential habilitation services funded by the Consolidated

Waiver allow participants who need those services to live in integrated

community settings.

      317. Plaintiffs Spurri and Miller are at serious risk of institutionaliza-

tion in state-operated or private ICFs/IID if they cannot secure prompt




                                       70
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 71 of 74



access to residential habilitation services since their families can no longer

maintain them in their family homes.

      318. Due to the lack of timely access to residential habilitation

services, certain Consolidated Waiver participants have been institution-

alized or at serious risk of institutionalization in state-operated ICFs/IID,

state-operated psychiatric hospitals, private psychiatric or medical

hospitals, or nursing facilities.

      319. Defendants violate the integration mandate of Title II of the

ADA, 42 U.S.C. § 12132 and 28 C.F.R. § 35.130(d), and Section 504 of the

RA, 29 U.S.C. § 794 and 28 C.F.R. § 41.51(d), by failing to assure

Plaintiffs’ and other Consolidated Waiver participants’ timely access to

residential habilitation and other services necessary to avoid institutional-

ization and allow them to live in the community.

      320. Defendants violate Title II of the ADA, 42 U.S.C. § 12132 and

28 C.F.R. § 35.130(b)(7), and Section 504 of the RA, 29 U.S.C. § 794, by

failing to make reasonable modifications to allow Plaintiffs and other

Consolidated Waiver participants timely access to residential habilitation

services. Such modifications include, but are not limited to: (a) funding a

range of specialized crisis services for individuals with dual diagnoses; (b)

implementing a rate system to incentivize providers to provide residential


                                       71
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 72 of 74



habilitation services for Consolidated Waiver participants with challenging

or complex needs; (c) assuring that providers’ reasonable start-up costs to

develop new residential habilitation programs are reimbursed; (d)

implementing and monitoring timelines to assure that Consolidated Waiver

participants have timely access to residential habilitation services and a

system to timely identify residential habilitation providers and develop

residential habilitation programs for participants with complex or

challenging needs; (e) imposing consequences when providers terminate

residential habilitation services before the participant can be transferred to

a new residential habilitation program; and (f) expanding the number of

providers with expertise in providing residential habilitation services to

participants with complex or challenging needs.

      321. Defendants violate Title II of the ADA, 42 U.S.C. § 12132 and

28 C.F.R. § 35.130(b)(3), and Section 504 of the RA, 29 U.S.C. § 794 and

28 C.F.R. § 41.51(b)(3), by using methods of administration, including

those described in Section IV.D of this Complaint, that: (a) subject

Plaintiffs and other Consolidated Waiver participants to discrimination

through unnecessary institutionalization or serious risk of unnecessary

institutionalization; (b) subject Plaintiffs and other Consolidated Waiver

participants to discrimination by excluding them from residential habilitation


                                      72
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 73 of 74



services based on their diagnoses of mental illness, physical disabilities,

and/or the severity of their disabilities; and (c) have the effect of defeating

or substantially impairing accomplishment of the objectives of the

Consolidated Waiver with respect to individuals with diagnoses of mental

illness and/or with more severe disabilities.

      322. Plaintiffs and other Consolidated Waiver participants who have

severe mental or physical health problems are effectively denied the

opportunity to participate in and benefit from residential habilitation services

in violation of Title II of the ADA, 42 U.S.C. § 12132 and 28 C.F.R. §§

35.130(a)-(b)(1)(i), and Section 504 of the RA, 29 U.S.C. § 794 and 28

C.F.R. § 41.51(a)-(b)(1)(i).

VI.   Relief

      323. Plaintiffs respectfully request that the Court:

            a.    retain jurisdiction over this action;

            b.    declare that Defendants’ actions and inactions violate 42

U.S.C. § 1983, Title XIX of the Social Security Act, the Americans with

Disabilities Act, and the Rehabilitation Act;

            c.    issue appropriate injunctive relief to enjoin Defendants

from continuing to violate 42 U.S.C. § 1983, Title XIX of the Social Security




                                       73
       Case 1:16-cv-00101-CCC Document 1 Filed 01/20/16 Page 74 of 74



Act, the Americans with Disabilities Act, and the Rehabilitation Act and to

take appropriate steps to remedy their violations; and

             d.   issue such other relief as may be just, equitable, and

appropriate, including an award of reasonable attorneys' fees, litigation

expenses, and costs pursuant to 42 U.S.C. §§ 1988, 12205 and 29 U.S.C.

§ 794a(b).


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                                     74
